        UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF NORTH CAROLINA

STUDENTS FOR FAIR                            )
ADMISSIONS, INC.                             )
                                             )
                      Plaintiff,             )          1:14CV954
                                             )
               v.                            )
                                             )
UNIVERSITY OF NORTH                          )
CAROLINA, et al                              )
                                             )
                      Defendant.             )


                                       NOTICE
                                      =============

       TAKE NOTICE that a proceeding in this case has been set as indicated below:

       DATE & TIME:           April 14, 2020 – 11:00 a.m.
       PROCEEDING:            Telephone Conference

            ** An email will be sent to all parties with call-in instructions**
______________________________________________________________________________

John S. Brubaker, Clerk

By: /s/ Debbie Blay, Deputy Clerk

Date: April 8, 2020

TO:    ALL COUNSEL AND/OR PARTIES OF RECORD




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